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                            UNITED STATES DISTRICT COURT
                             DISTRICT OF NEW HAMPSHIRE


Laurie Ortolano,
                       Plaintiff,
v.                                                             No. 22-cv-00326-LM

The City of Nashua, New Hampshire, et al.,
                     Defendants.


                             AFFIDAVIT OF RAYMOND FEOLI

       I, Raymond Feoli, do hereby depose and state as follows:

       1.       This Affidavit is based on my personal knowledge.

       2.       I am the President of Inception Technologies, Inc. (“Inception”), a privately

owned New Hampshire corporation with an office in Manchester.

       3.       Inception provides document scanning and data storage services to private

companies and public agencies. Among Inception’s past and present customers are the New

Hampshire municipalities of Nashua, Salem, Moultonborough, and Hollis.

       4.       Inception routinely handles customers’ confidential data and therefore is

contractually and ethically bound to adhere to strict confidentiality and security protocols.

       5.       In or about August of 2020, Inception contracted with the City of Nashua (the

“City”) to provide document scanning and data storage of the City’s Tax Assessor records.

Pursuant to this Contract, the City delivered boxes of documents which Inception then scanned

into digital format for storage. Since the start of this project, Inception has scanned

approximately 500,000 documents for the City.

       6.       City Director Kimberly Kleiner has been my primary contact with the City.




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       7.       In late 2021 or early 2022, I received a voicemail message from a person who

identified herself as Laurie Ortolano of Nashua. Thinking Ms. Ortolano was a City official, I

promptly returned the call.

       8.       Prior to this call, I had never met, communicated with, or heard of Ms. Ortolano.

I knew nothing of Ms. Ortolano’s legal battles with the City.

       9.       Ms. Ortolano asked me questions about the scanning project Inception was

handling for the City. She recited facts about a pending Purchase Order as well as the amounts

Inception had billed to, and was paid by, the City. She asked about Inception’s production

schedule. She stated that she would make sure payment from the City was expedited.

Accordingly, I provided a status report on the scanning project.

       10.      On or about February 4, 2022, Ms. Ortolano called me again and left another

voicemail message. Once again, I promptly returned the call. Ms. Ortolano questioned me about

public access to the scanned documents, at one point stating/inquiring: “We don't have access to

those files. When can we get those files back?” I did not provide Ms. Ortolano access to the

scanned documents.

       11.      Following this second call with Ms. Ortolano, I received a call from Ms. Kleiner

who asked me to identify all City officials with whom I had communicated about the City’s

scanning project.

       12.      I identified the City officials with whom I had communicated, including Ms.

Ortolano who I believed to be a City official.

       13.      Ms. Kleiner informed me that Ms. Ortolano was not a City official. Ms. Kleiner

proceeded to inform me about the lawsuit(s) Ms. Ortolano had brought against the City. Prior to

this conversation, I had never heard of Ms. Ortolano or her lawsuit(s) against the City.




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       14.     Upon learning that Ms. Ortolano was not a City official, I concluded that my

conversations with her amounted to a breach of Inception’s data security obligations to the City.

       15.     On February 6, 2022, I wrote an email to the Board of Alderman and forwarded it

to Ms. Kleiner to memorialize my communications with Ms. Ortolano. A true and accurate copy

of my February 6, 2022 email is attached hereto as Exhibit “A.”

       16.     It is my understanding that my email was read at the February 8, 2022 Board of

Aldermen meeting. I did not attend or participate in this meeting.

       17.     On February 11, 2022, I received an email from Alderman Alex Comeau who

wanted to clarify the statements made in my email. I promptly called him and discussed the

email, clarifying that Ms. Ortolano never explicitly stated she worked for the City but that I

believed she was a City official based on her intimate knowledge of City business, the terms of

Inception’s contract and the status of Purchase Orders, billing and payments, as well as her

statements to me.

       18.     Shortly after the February 8, 2022 Board of Aldermen meeting, a detective from

the Nashua Police Department came to my Manchester office to ask questions about my

communications with Ms. Ortolano. I informed the detective that Ms. Ortolano never stated to

me that she was a City official but that I believed her to be a City official based on her intimate

knowledge of City business, the terms of Inception’s contract and the status of Purchase Orders,

billing and payments, as well as her statements to me.

       19.     Aside from the above-referenced communications, I have not communicated with

anyone concerning Ms. Ortolano.




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Signed under the pains and penalties of perjury this 18th day of November, 2022.


                                     /s/ Raymond Feoli
                                     Raymond Feoli




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                               CERTIFICATE OF SERVICE

I certify that a copy of this filing was served via the Court’s ECF filing system upon counsel of
record.

                                                    /s/ Danilo J. Gomez
                                                    Danilo J. Gomez
